       Case 18-24162-CMB                        Doc 68        Filed 10/27/23 Entered 10/27/23 15:34:38                         Desc Main
     Fill in this information to identify the case:           Document Page 1 of 5
     Debtor 1              DAVID J. LLOYD


     Debtor 2              NICHOLE M. LLOYD
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          18-24162CMB




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  CLEARVIEW FCU**                                                                  2

 Last 4 digits of any number you use to identify the debtor's account                         9   5   1   5

 Property Address:                             38 FIELD AND STREAM RD
                                               MARIANNA PA 15345




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $         697.81

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $         697.81

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $         697.81



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $265.00
         The next postpetition payment is due on                12 / 1 / 2023
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     DAVID J. LLOYD                                                   Case number (if known) 18-24162CMB
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date    10/27/2023


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     DAVID J. LLOYD                                            Case number (if known) 18-24162CMB
             Name




                                             Disbursement History

Date         Check #     Name                                Posting Type                                         Amount
MORTGAGE ARR. (Part 2 (b))
10/26/2020   1175378     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                         19.37
11/24/2020   1178478     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                         25.39
12/21/2020   1181469     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                         27.29
02/22/2021   1187470     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                         97.94
03/26/2021   1190719     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                         36.04
04/26/2021   1194038     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                         30.88
05/25/2021   1197176     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                         30.88
06/25/2021   1199992     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                         30.88
07/26/2021   1203215     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                         37.78
08/26/2021   1206332     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                         37.78
09/24/2021   1209496     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                         37.78
12/23/2021   1218691     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                         45.29
01/26/2022   1221759     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                         96.27
03/25/2022   1227585     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                         69.40
04/26/2022   1230623     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                         40.21
05/25/2022   1233662     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                         34.63
                                                                                                                  697.81

MORTGAGE REGULAR PAYMENT (Part 3)
03/25/2019   1111770     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        202.32
04/26/2019   1115071     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        405.94
05/24/2019   1118455     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        614.43
06/25/2019   1121791     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        410.06
07/29/2019   1125278     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        275.65
08/27/2019   1128706     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        275.65
09/24/2019   1132146     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        137.83
10/24/2019   1135391     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        432.40
11/25/2019   1138855     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        144.14
12/23/2019   1142288     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        298.11
01/28/2020   1145687     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        161.78
02/25/2020   1149182     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        495.51
03/23/2020   1152729     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        336.48
04/27/2020   1156161     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        499.35
05/26/2020   1159561     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        163.32
06/26/2020   1162933     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        493.33
07/29/2020   1166143     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        331.12
08/25/2020   1169221     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        332.69
09/28/2020   1172291     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        332.67
10/26/2020   1175378     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        282.22
11/24/2020   1178478     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        265.00
12/21/2020   1181469     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        265.00
01/25/2021   1184396     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        265.00
02/22/2021   1187470     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        265.00
03/26/2021   1190719     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        265.00
04/26/2021   1194038     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        265.00
05/25/2021   1197176     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        265.00
06/25/2021   1199992     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        265.00
07/26/2021   1203215     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        265.00
08/26/2021   1206332     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        265.00
09/24/2021   1209496     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        265.00
10/25/2021   1212589     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        186.81
11/22/2021   1215625     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        343.19
12/23/2021   1218691     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        265.00
01/26/2022   1221759     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        265.00
02/23/2022   1224716     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        184.86
03/25/2022   1227585     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        345.14
04/26/2022   1230623     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        265.00
05/25/2022   1233662     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        265.00
06/27/2022   1236684     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        265.00
07/26/2022   1239692     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        265.00
08/24/2022   1242610     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        265.00
09/27/2022   1245462     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        265.00
10/25/2022   1248326     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR                        265.00

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Debtor 1     DAVID J. LLOYD                                            Case number (if known) 18-24162CMB
             Name




                                             Disbursement History

Date         Check #     Name                                Posting Type                                         Amount
MORTGAGE REGULAR PAYMENT (Part 3) Continued...
11/23/2022   1251146     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR               265.00
12/22/2022   1253909     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR               265.00
12/22/2022   1253909     CLEARVIEW FCU**                     CANCELLED CHECK TO CREDITOR/CONTINUING DEBT-265.00
12/22/2022   1256172     CLEARVIEW FCU**                     PREWRITTEN CHECK TO CREDITOR/CONTINUING DEBT265.00
01/26/2023   1256651     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR               265.00
02/23/2023   1259339     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR               265.00
03/28/2023   1262097     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR               265.00
04/25/2023   1264904     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR               265.00
05/25/2023   1267720     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR               265.00
06/26/2023   1270607     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR               265.00
07/25/2023   1273482     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR               265.00
08/25/2023   1276215     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR               265.00
09/26/2023   1278985     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR               265.00
10/25/2023   1281702     CLEARVIEW FCU**                     AMOUNTS DISBURSED TO CREDITOR               265.00
                                                                                                     16,165.00




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                                          CERTIFICATE OF
                                          Document       SERVICE
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I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

DAVID J. LLOYD
NICHOLE M. LLOYD
38 FIELD AND STREAM ROAD
MARIANNA, PA 15345

DANIEL R WHITE ESQ
ZEBLEY MEHALOV & WHITE PC
POB 2123*
UNIONTOWN, PA 15401

CLEARVIEW FCU**
8805 UNIVERSITY BLVD
MOON TWP, PA 15108-4212




10/27/23                                                       /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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